                                                Certificate Number: 13858-OHN-CC-031081000


                                                               13858-OHN-CC-031081000




                     CERTIFICATE OF COUNSELING

 I CERTIFY that on May 23, 2018, at 9:23 o'clock PM EDT, Quintel Estelle
 received from MoneySharp Credit Counseling Inc., an agency approved pursuant
 to 11 U.S.C. § 111 to provide credit counseling in the Northern District of Ohio,
 an individual [or group] briefing that complied with the provisions of 11 U.S.C.
 §§ 109(h) and 111.
 A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
 copy of the debt repayment plan is attached to this certificate.
 This counseling session was conducted by internet.




 Date:   May 23, 2018                           By:      /s/Kaitlin Johnson


                                                Name: Kaitlin Johnson


                                                Title:   Counselor




 * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
 Code are required to file with the United States Bankruptcy Court a completed certificate of
 counseling from the nonprofit budget and credit counseling agency that provided the individual
 the counseling services and a copy of the debt repayment plan, if any, developed through the
 credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).




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